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                         IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

GORSS MOTELS INC., a Connecticut                    )
corporation, individually and as the                )
representative of a class of similarly-situated     )
persons,                                            )
                                                    )   Civil Action No. 3:16-cv-01362-MPS
                               Plaintiff,           )
                                                    )   CLASS ACTION
               v.                                   )
                                                    )
COMMERCIAL LIGHTING INDUSTRIES                      )
and JOHN DOES 1-5,                                  )
                                                    )
                               Defendants.          )


                            NOTICE OF VOLUNTARY DISMISSAL

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i) Plaintiff in this action, Gorss

Motels Inc., by and through its undersigned counsel, hereby dismisses this action without prejudice.

                                                  Respectfully submitted,

                                                  By: /s/ Aytan Y. Bellin
                                                  Aytan Y. Bellin ct28454
                                                  BELLIN & ASSOCIATES LLC
                                                  85 Miles Avenue
                                                  White Plaines, NY 10606
                                                  Phone: 914-358-5345
                                                  Fax: 212-571-0284
                                                  Aytan.Bellin@bellinlaw.com

                                                  And:
                                                  Brian J. Wanca
                                                  ANDERSON + WANCA
                                                  3701 Algonquin Road, Suite 500
                                                  Rolling Meadows, IL 60008
                                                  Telephone: 847-368-1500
                                                  Facsimile: 847-368-1501
                                                  bwanca@andersonwanca.com
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on February 7, 2017, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system which will send notification of such filing to all attorneys of
record.

                                                      s/ Aytan Y. Bellin




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